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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF LOUISIANA


In Re: Oil Spill by the Oil Rig                   *    MDL NO. 2179
   “Deepwater Horizon” in the                     *
   Gulf of Mexico, on April 20, 2010              *    SECTION: J
                                                  *
                                                  *
                                                  *    HONORABLE CARL J. BARBIER
                                                  *
                                                  *    MAGISTRATE JUDGE SHUSHAN
                                                  *
                                                  *
                                                  *

Plaisance, et al., individually                   *    NO. 12-CV-968
and on behalf of the                              *
Medical Benefits Settlement Class,                *    SECTION: J
                                                  *
              Plaintiffs,                         *
                                                  *    HONORABLE CARL J. BARBIER
v.                                                *
                                                  *    MAGISTRATE JUDGE SHUSHAN
BP Exploration & Production Inc., et al.,         *
                                                  *
              Defendants.                         *
                                                  *

                                PROPOSED ORDER
[Adopting Joint Recommendations from Class Counsel and BP Regarding Administrative
                Changes to the Gulf Region Health Outreach Program]

       IT IS ORDERED that:

       The Alliance Institute, a grantee of the Primary Healthcare Capacity Project, will provide

community-based support and input to all of the Gulf Region Health Outreach Program Projects.

The Alliance Institute will report to the Claims Administrator and the Gulf Region Health
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Outreach Program Coordinating Committee, instead of to the Louisiana Public Health Institute.

The Claims Administrator will be responsible for approving and issuing all payments to the

Alliance Institute.

       IT IS FURTHER ORDERED that the compensation for independent Gulf Region Health

Outreach Program Coordinating Committee members Drs. Ayanna Buckner and Lester Bietsch

be increased to $25,000 annually.


               New Orleans, Louisiana, this ____ day of ________, 2013.




                                           CARL J. BARBIER
                                           UNITED STATES DISTRICT JUDGE
